Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 1 of 39

Lucio Celli

89 Widmer Road.

Wappingers Falls, New York 12590
718-547-9675

UNITED STATES COURT OF FORTHE -

DISTRICT OF COLUMBIA

LUCIO CELLI,

Plaintiff,

VS.

Randi Weingarten, Judge Cogan, Pres. Biden, Sen.
Schumer, Judicial Conference, Chief Judge Swain, AG
Garland, Senate Ethics Committee, Senate Judiciary
Committee, Ms. Cook, NYCDOE, Law Dept of NYC, :
Mayor Adams/Mayor DeBlasio,! Speaker Johnson,
Judge Donnelly, Judge Engelmayer, Mr. Silverman, '
Ms. Olivera, Mr. Wiel, Mr. Hueston, US Marshalls, ©
Mr, Taylor, Mrs. Silverman, Mr. Perez, Chief Judge
Livingston, AUSA Karamigous, AUSA Bensing,
AUSA Peace and Ms. Kopplin

 

Case No.::
AMENDEMNTED: INJUCTION AND DECLARA’ TORY”

JUDGMENTS:

I sent the audio recordings bullying me and allowing Mr. Silverman knowingly to lie to him to tv
stations because of what Chief Judge Swain did to me because he used her office to-cover up the
criminal conduct of Judge Engelmayer, as he with AUSA Karamigious deprived me of a fair trial

and my witnesses at the DOJ will help me. Chief Judge Swain/Katzman is the reason why . ,

congress needs to McCain plan for an IG for the Judiciary Branch
If it works, I will get what I want—a fair trial and ifi it does not, then I am screwed

Because Chief Judge Swain lied about the reason of my complaint: I do not seek monetary
damages, so the issue of immunity is moot—I seek the opportunity to have the trial of my
dreams and/or a fair trial guaranteed by the constitution ©

Let’ s be clear, Randi Weingarten paid Chief Judge Swain (Schumer judge) to deprive me of a
fair trial and hid the fact that she is a Schumer judge, so that I could not litigant biasnicts. fact,
Judge Swain had her clerks destroy papers from my complaint—the post office weighs the

envelopes, which makes the conduct real stupid

As said to me, like Judge Cogan, Judge

Chief Judge Swain wants to hide what the AUS

 

  

' ‘Depending if {eed to st sil keep Mayor DeBlasio, but |
J
Case 1:21-cv-03359-CRC . Document 2° Filed 01/05/22 Page 2 of 39

Donnelly, and Judge Engelmayer committed a crime against me (various reason) and I believe
the world need to hear them _ Oo

Chief Judge Swain knows that my 3020-a will deal with what happened in Judge Engelmayer’s
courtroom and she is covering up his criminal conduct because she is impeding AUSAs from
testifying to the fact that he committed a crime when he deprived me of my intent and then

allowed Mr. Silverman not do any work, obtain evidence, and lied to him about everything —

impeding someone from testifying is a crime according to the AUSAS who told me about Mr.
Taylor and Mr. Silverman their lies about third-party witnesses ,

L NATURE OF THE CASE

1. This is an action for declaratory judgment pursuant to the Federal Declaratory Judgments
Act, 28 U.S.C. §§ 2201-2202, and Rule 57 of the Federal Rules of Civil Procedure.
I also seek an injunction where everyone that should have called as witnesses in my
criminal, they need to appear in my 3020-a hearing because the facts are the same.
a. I want the AG Garland to force all his employees that I spoke to appear at my 3020-
a, as this is a way to show that I was deprived of a fair trial by Judge Engelmayer,
AUSA Karamigious, and Mr.: Silverman |
i. The removal of EDNY from my. case

ii, AUSA Karamigous and AUSA Bensing disciplined for violating Exe. Order
and Gov’t Ethic’s Act

iii. I received letters from the IG and Exe. Office saying that the AUSAs _
committed misconduct . .

iv. Correct all misleading statement since the beginning
v. Provide me with equal protection of laws
vi. Stop helping Judge Cogan commit Sri

es against me, depriving me of retro
money . . : | | |

b. Iw 1 |
want the Supreme Court to force their judges who harmed me fo Randi
1 me for Randi

Weingarten iin ei
g be forced to explain either why they deprived me of my ri
committed a crime against me if ] have set

3 : AUSAs Saying s '
3020-a and I Want it streamed liye 9 YiN$ $0, which would be at my

i, Each j Bdge go gta!
Judge deprived jie of Constitutiong I rights

ve oC . . hop OS ,
2
Je

Case 1:21-cv-03359-CRC Document 2. Filed 01/05/22 Page 3 of 39

ili. Conspired to deprive me of my own intent, for which they ALL had.
knowledge about because I made sure .

c. Senate Ethic committee to force Ms. Kopplin to testify and allow me to testify on
Ms. Kopplin’s misconduct because what Judge Engelmayer and Judge Donnelly did ©
to me is consider conspiracy under case laws, under civil case law, and we can even
use Judge Porteous’ trail because lying about association was considered a
conspiracy .

i. There are other theories, like the one in DOJ’s manual for political connection
ii. Or the different theories about election crimes, one deal with as the person
campaigns and then the other one is outside the campaign’s timeframe
ili. Now Ms. Kopplin went to Georgetown Law School and is not stupid. J am
beyond sure that she is intelligent | | |

d. Senate Judiciary Committee, I need to be allowed to oppose any nomination by Sen.
Schumer and play my audio recordings of what HIS judges did to me FOR Randi
Weingarten . |

i. keep mentioning Judge Louderbach’s impeachment trial statement of “I

fixed the cases for Sen. Shortbridge because he got me my job.”

i. Judge Louderback won his trail

iii. But I mention Judge Louderback, versus the judges who were criminally
convicted and never admitted what Louderback said, because this what
people think about Sen. Schumer and Randi Weingarten AND this is

- without EVER hearing Sen. Schumer saying, “Randi is like a sister to me.”
iv. I never found a criminal case where a judge admitted, “I fixed a case for...”

like Judge Louderback, but the cases that I found are ALL after Judge

Louderback’s trial and all after Watergate.
y.L want to show the committee and the country why there is a TRUE need for

an 1G for the judicial branch -

Land Twill
My lawyers have not done anything to promote my interest, please see undet geal an
. :
. misconduct,

audio recordings hat documents their

- forward documents too and | have ¢ aes

wich the DOJ acknowledge is misconduct “Y=
Case 1:21-cv-03359-CRC Document 2. Filed 01/05/22 Page 4 of 39

4. To the Judicial Conference, I want to play my audio recordings of Judge Donnelly and
Judge Engelmayer intimidating me out of remedies and in the case of Judge Engelmayer
out of my own intent.

a. Isent the audio recordings to the DOJ, congress and now media

b. Ido have AUSAs telling me it is a crime to deprive me of my own, when intent is

an element of the crime
c. I want to prove how each Schumer judge helped Randi Weingarten, Betsy Combier,
or Cogan—but mostly, they did it for their boss, Sen. Schumer
-d. To have knowledge of misconduct is misconduct in itself, like know Judge Cogan .
and Judge Engelmayer practiced law for Randi.
‘ e, An example is Chief Judge Swain knew of the misconduct of Judge Engelmayer -

with the audio, so she denied my petition to show the work that I was denied a fair

trial and cover up Randi’s crimes
i. Judge Swain, like the criminal that she is like Judge Porteous, hid the fact
that Sen. Schumer recommended her and she own him favors, like Judge

Louderback.

f, There cannot be two realities, but many discretion.

w

Plaintiffs, Lucio Celli bring this action individually, These p

laintifts (collective| ,
| 'y referr
to as “Defendant”) bri | .
Case 1:21-cv-03359-CRC Document2 Filed 01/05/22 Page 5 of 39

being detained illegally without procedural safeguards (abuse of process), unfair trial, being
: * >
denied the opportunity to litigate claims, denied of substantive right of liberty and to show

how the DOE, and UFT harassed me into the current situation: In addition, I was the

opportunity to oppose anyone Sen. Schumer recommends to a position because they have

ALL harmed me for Randi Weingarten.

I need the Court to order the US Marshalls to serve judges and AG Garland because lam.

not allowed too, per the terms of probation and the list is over 500 judges.

If. JURISDICTION and PARTIES

6. Federal courts are courts of limited jurisdiction (limited power). Generally, only two types
of can be heard in federal court: cases involving a federal question and cases involving .
diversity of citizenship of the parties. Under 28 USC §1331, a case arising under the United
States Constitution or federal laws, or treaties isa federal question case. Under 28 USC §.
1332. a case in which a citizen of one State sues a citizen of another State or nation and the
amount at stake is more than $ 75,000 is a diversity of citizenship case. In a diversity of
citizenship case, no defendant maybe.a citizen of the same State as any plaintiff.

7. The basis for federal court’s jurisdiction is “Federal Question” and “Diversity of

citizenship”

Federal Question:

a. The Constitutional torts are 1 Amendment (Social Contract Doctrine, petition to
government, access to the court, etc.), 4th Amendment (Detainment, probable cause

and abuse of process’), 5” Amendment (Due Process Clause), 6" Amendment

efer to. information

y rior
2 Not sure.of this one pecause | do not have my computer tO.
Case 1:21-cv-03359-CRC. Document2 Filed 01/05/22 . Page 6 of 39

(Effective assistant of counsel, impartial district, calling witnesses’, etc.*) and 14"

Amendment (Due Process, equal protection of the law, etc.>)
“Diversity of citizenship”

b. Randi Weingarten with J udge Cogan and Sen. Schumer are the reasons (via their
conspiracy) that I did not receive a fair trial |

c. Randi Weingarten (evil mob boss) is the American Federation of Teachers, AFL-
CIO, 555 New Jersey Ave., N.W. Washington, DC 20001

d. Judge Cogan address at the court is 225 Cadman Plaza East, Brooklyn, NY 11201
| e. Sen. Schumer address is 322 Hart Senate Office Building Washington, D.C. 20510

f. Judicial Conference is Administrative Office of the United States Courts, One

Columbus Circle, NE Washington, D.C. 20544
i. Also, see the individual judges’ address at their courthouse, as the judges
come from all over the country to participate. .

g. Judges who I emailed in 2018, 1 do not remember who I emailed, but there were
over 500 judges, and they were judge out west—I believe, but I could be wrong, but
the DOJ has the information |

h. AG Garland is 950 Pennsylvania Avenue, Nw, Washington, DC 20530

i. Senate Judiciary Committee is 224 Dirken Senate Office Building Washington, DC
20510 .

8. Defendants AUSA Garland (Prosecutorial Imm unity and no money 1s sought) Judges wie |
: , JUGLES Who.

emailed in in 2018 (no Judicial Immunity because I was not a litigant before any of the
: t ” any of them,

they were solely witnesses, and I seek no money)

and no money ig sought) Judy Cogan (no

against me, I was Rot a litigant before him

), Judicial Conference (Judicial Immunity
Judicial Immunity because he pressed changes

In the criminal] fase, and I do not seek any
Case 1:21-cv-03359-CRC. Document 2° Filed 01/05/22 Page 7 of 39

money from him at the moment), Judge Engelmayer (Judicial Immunity from Oct. 16, 2020
to April 5, 2020 and no Judicial Immunity from April 6, 2021.to present because he |
practiced law, but I do not-seek money) and | bright this cause of action under Bivens Vv,
Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you
may sue federal officials for the violation of certain constitutional rights, but no money is
sought in this suit.
9. Amount in Controversy .
a. This is not about money presently, but the looming 3020-a could result in
termination, so my yearly salary is well-above threshold of $75,000. .
b. This suit.is about showing the country that I did not receive a trial
c. This suit is about showing the country that Sen. Schumer judges helped Randi
Weingarten deprive me all my constitutional rights . _ |
d. My termination hearing will focus in on the criminal charges |
e. I want to be able to submit a video brief and show the structural errors
f. I want to be able to show how the AUSAs of EDNY helped deprive me of a fair
trial, deprived me liberty for Judge Cogan, and covered of Judge Cogan’s crime for

his former clients the UFT

gq

| audio recorded and it is better for the public to see a face that corresponds with the

voice

III Statement of Claim

10. In and out of court criminal court

11. Lack of procedural safeguards at the bail heating

\) Randi and Betsy Combier harassed me, like placing my WIV status on Betsy’s blog

13. Betsy’s blog is funded by her nonprofit foundation

€
d Randi cover up her crimes and her harassment of m

with Sen. Schumer |

14. Sen. Schumer helpe
Judge Donnelly and J udge Engelmayer Vied about their association
‘Case 1:21-cv-03359-CRC Document 2. Filed 01/05/22 Page 8 of 39

16. Judge Donnelly and Judge Engelmayer will not entertain who gave the NYPOST my
health information (mental) . | . -

17. Schumer judges who have helped Randi Weingarten and Betsy Combier: Judge Brodie,
Judge Donnelly, Judge Engelmayer, Judge Katzman, J udge Livingston, Magistrate
Scanlon,’ Judge Lainer (others too)

18. Betsy played me an audio recording of Randi paying Judge Marrerro (Schumer)

19. I was deprived of a fair trial, the right to testify, and present evidence |

' 20. I began emailing Sen. Schumer on December 11, 2017, because I believed that he was the
person that was helping Randi Weingarten - 7

21. 1 watched the hearings of Judge Porteous because Judge Cogan ignored his relationship to

the UFT, how he dealt with the issues at hand at a lawyer for Strook, and how he wrote

briefs for the UFT for arbitration that I quoted, but he could not read

22. I watched the videos in the Senate and US Court on changes for judicial conduct prior to
November of 2018 Co

23. Justice Roberts recused himself in Schaffer v. Weast 546 U.S.49, 51 (US. 2005)
because he said that no one would believe the opinion would be obtained without
his influence . : .

a. Judge Newman wrote an opinion about practice of law, but wrote it was ok
for Judge Cogan a
b. Judge Cogan worked for the UFT for over 20 years, which at Strook, Strook,
and Lavin . Doe Ss | |
c. My lawyers and the AUSAs of EDNY say that Judge Cogan was right for
what he did to me ae
i. AUSAs of the EDNY are depriving of equal protection of the law |
ii. AUSAs of the EDNY have conspired with Judge Cogan to deprive m
of a fair trial, liberty, and retro money —as Ms. Norton said that I was
not entiled to retro money and see attachment and below for further
d. Ihave AUSA Gold and AUS “oo
Judge Cogan committed 4 cri
e. Judge Ritter was im

A Shaw with 80 other DOJ

° | personnel said that
me for the UFT against me . sald that

peached and convi + th .
fo Z 1cted for the .
Randi Warns and law firm, but Judge Cogan is allowed tg one nS

1 Weingarten paid Judge Marrero - OP EO ERO do this...and

£ Idida lesson With 4
. Students who had oe
what Judge C ae. 0 had borderline IQs 4
Gold ite F hen a ‘or his former clients was . re ley understood that
“FS, Said that they believed it was. ‘rong and they, AUSA_
os 4 rime

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° Either AU . . .
7 €nsing or'F os PS
Clerked for Kat & OF Federal Defend :
2man, so a Schumer ; hder Leticg Oliver:

er judge by proxy Ivera

Proxy °-
Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 9 of 39

24, Shannon Hamilton-Kopplin

a. Senta letter that, basically saying, Sen. Schumer can fix any case that he wants in
the county

b. Ms. Kopplin knew that no senator would be reading my letters and or listening to
the audios

c. Judge Donnelly audio

1.
ii.
ill.
iv.

Vv.

Vi.

Attempted to lie about her association with Sen. Schumer

After being reminded.about their daughter attended school together, the -
judge’s memory came back—it was a miracle, but not if you watch Judge
Porteous’s impeachment trial

Judge Donnelly told me that my intent was not what ] thought it was, but
from the computer—the truth _—

I waited. year, which is the audio recording sent to congress, and I ‘asked
Judge Donnelly if her computer was speaking to her

Told me if I keep bring up bail hearing that she would send me back to jail

Judge Donnelly acknowledged my emails sent to her and appeared to be
sincere ,

d. Judge Engelmayer audio sent to her via email on 1/2/2022

1.

ii.
iti.
iv.

Vi.
vii.

Viil.

ix.

x.
Xi.

Oct 16, 2020, called me stupid and crazy for suggesting that Sen. Schumer
recommended him to Pres. Obama a

Never ruled on recusal based on his lie, see Judge Porteous

Intimidated me into a plea
Ignored the fact that Mr. Silverman lied about my intent, even though Judge
Engelmayer received my email

‘?, Ignored the fact that Mr. Silverman lied to him about bail and not present

evidence, and I told the judge it was required by law and AUSA Shaw. said

it was a crime . .

Ignored the fact that Mr. Silverman did not obtain any evidence based on.

my intent Oo

Ignored the fact Mr. Silverman was not my choice as a lawyer _

Judge Engelmayer worked for the DOJ, so he knew and understood about

waiver to participate where a former boss is present and lying about federal

rules of evidence

Judge Engelmayer, like a child, accused me of being a liar about the US
Marshalls without hearing my audio recording, but it was done because |
told him that he needed to be ashamed of himself or lying about his
association with Sen. Schumer

Judge Engelmayer said that I will not receive justice in his courtroom
Judge Engelmayer with Judge Donnelly helped give and get away with
giving health information to NYPOST

95. Chief Swain usurped my injunction in SDNY
a. Did nottell me she is a Schumer judge

b. 24. Cir. Council and she knows: :
c, Judge Cogan and Judge Engelmayet bo
d. Insenate hearing and the hear

office when there is obvious

knows that practice of law is misconduct under 28 § 454
rgelix th practiced law. . oe
ring on 10/ 30/18, a judge brings disrepute to then

Do

4 as “practice of law.”
misconduct and the exam give was “P
Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 10 of 39

Randi Weingarten paid her to ignore facts, like Judge Engelmayer intimidated me
Conspired with Randi and Sen. Schumer to hide the fact that I was denied a fair trial
Judge Swain had a clerk take out pages from my complaint, as the post office
weight everything and the missing pages have the same weight that were sent from
SDNY (exact papers too) a 7 :

h. DOJ and Congress understood my papers, but she cannot read and understand the
same- pages : :

i. Chief Judge Swain received my emails, like Sen. Schumer, so she knew that Mr.
Silverman lied about my intent a . a

j. Chief Judge Swain received my emails, like Sen. Schumer, so she knew that Judge
Engelmayer bullied into a plea to help Randi because Randi wanted to expose my
rape /

k. Chief Judge Swain received my mails, so she knows that she was a primary witness
and Mr. Silverman deprived me of witnesses by saying, “they (including Sen.
Schumer and judges) were third-party witnesses

1. [have AUSAs saying this is a crime.

m. Chief Judge Swain twisted the fact that I wanted to show the world that I did not
receive a fair trial with ‘appeal’

n. The conspiracy is not to allow the information get out _

o. Chief Judge Swain wrote that I wrote false statements, but I have audio recordings
to disprove it, and like all the other judges, not allowing me to get the truth out |

p. In fact, Chief Judge Swain knows that Judge Engelmayer robbed the US for Betsy

Combier, as I placed on the docket her IRS forms form nonprofit foundation and
how she uses it for a for her for profit business

gq. Because of Chief Judge Swain’s criminal conduct of hiding the fact that I was
deprived of a fair trial

Helped Randi and Judge Cogan rob me of retro money via Schumer
Helped Randi and Judge Cogan rob my parent of their pension money via Schumer

ge th @

26.

Underlying facts:

I incorporate the facts contained suits below into this action

17-cv-00234, 2
18-cv-03230 2d
21-mc-01760, 2d
19-cr-00127
15-cv-03679
17-cv-02239

ge Engelmayer dj Se ks
Weingarten - * did not answer becaus
Case 1:21-cv-03359-CRC Document 2. Filed 01/05/22 Page 11 of 39

T request relief from Judge Engelmayer’s inaction (because Randi Weingarten paid him®’—~like
Judge Marrero,? and Sen. Schumer is the middleman because he feels that Randi is like his sister.
Also, it took Judge Engelmayer months to admit Sen. Schumer recommended him to Pres.

Obama—I guess, I was not crazy and stupid after all). I make this request pursuant to:

My preference, I want an order that my 3020-a hearing be streamed live. At the hearing, | want
everyone that I emailed (which Mr. Silverman lied about) present with Shannon Hamilton-
Kopplin of the Senate Ethics committee, Sen, Schumer (of course), and the others from the DOJ
who answered my letters. If this matter is litigated at 3020-a hearing, then there is no need for an

appeal because I get Randi, Betsy and the Schumer judges who harmed me for Randi.

Also, order Mr. Silverman to send my papers to the DOJ

 

I am sending this to all senators, and I ask if anyone would like to testify at my 3020-a hearing
because what Sen. Schumer did for Randi Weingarten and Betsy Combier is the exact conduct

that he wanted Pres. Trump impeached for.

 

 

To AG Garland/Pres. Biden:!°

You know, as a former judge, that the government needs to protect the integrity. I ask that you

allow/force all AUSAs, who spoke to me or wrote to me, to appear at my 3020-a without a

court order.

 

 

 

 

heat Randi pay Judge Marrero, who is a Schumer judge,

\ i Tet KO iist6a i . Aenvisioned when tl started to emailed Sen. Schumer in

and thts into the parrative that | wante nse esas Bano eC

and then the judges 1 * cr played Lor me
Deseret ah audio recording Betsy Combier pis oe
91 do no

10 Taking Clause
Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 12 of 39

 

I do not question discretion, but I question the views on facts as I have AUSAs who said that

EDNY deprived me due process of law, which cause my liberty to be taken away.

There are not 2 DOJs for facts, but there are many different discretions at the DOJ, and I must
accept discretions. without questioning it. 1 have AUSAs who told me that I was deprived of -
liberty because of Judge Cogan, as all procedural safeguards were not given to me——which are
described in Bail Reform Act and the Salerno case. To be frank, I was not given ANY 7
procedural safeguards and everyone else understood, but the IG’s office stated nothing

| happened (the gist of the letter) or my takeaway or I did not make my case clear on how I was

denied liberty illegally and criminally—any could be a possibility

 

In determining whether to grant a preliminary inj unction or temporary restraining order, a
court must examine and weigh four factors: (1) whether the moving party has shown a strong
likelihood of success on the merits; (2) whether the moving party will suffer irreparable harm if
the injunction is not issued; (3) whether the issuance of the inj unction would cause substantial

harm to others; and (4) whether the public interest would be served by issuing the injunction.
Overstreet v. Lexington-Fayette Urban County Government, 305 F.3d 566, 573 (6th Cir. 2002);

McPherson v. Michigan High School Athletic Ass’n, 119 F.3d 453, 459 (oth Cir. 1997) (en

banc). “These factors are not prerequisites but are factors that are to be balanced against each’

other.” Overstreet, 305 F.3d at 573.

I believe what is below the line will be enough to meet the requirements from above
However, I ask to fully develop ¢ a |
y p the argument, but I am wi ly regul !

: without my regular computer,

Facts:
Case 1:21-cv-03359-CRC Document 2. Filed 01/05/22 Page 13 of 39

2. NYS policy, in terms of conviction, that teacher will be restored to his/her rights
and position prior to conviction and providing that the conviction is overturned,
and I do not have the NYS ED Paper provides the full description, but Mr. Greene .

has my computer - .

Go

. Transcripts are not either fully develop or accurate or there are obvious omissions
(which I believe were made intentionally)
4, My employer cannot make an accurate decision because the record does not have

my plea was a product of intimidation or reasons my lawyers were ineffective, as

examples

5. I would have gone to trial if ] was not intimidated because my intent was to get
justice for what the UFT and DOE has done to me with the fact that the judges
helped Randi Weingarten and the UFT

6. 3020-a hearing will focus on my intent

7.

1 will not have a neutral arbitrator because the DOE and the UFT both must agree
upon the arbitrator : . .
8. Arbitrators make over 1,500 dollars a day
9, Therefore, the arbitrators will decide my case based on their finical needs
10. I do not my computer, but there is a Supreme Court case for arbitrators that deal
with the issue of Tumey v. Ohio (like finical issues), but please accept this case
Commonwealth Coatings Corp. v Continental Casualty Co, 393 US 145 (1968)
for impression of arbitrator!’ |
11. The award will be procured by corruption, fraud, or “undue means”—the only”
way Randi Weingarten knows how to win
12. Mr. Silverman was not my choice for lawyer, which is a structural error
13. Mr. Silverman and Judge Engelmayer denied mea defense of my choice and my
- intent, which are structural errors

14. Judge Engelmayer was biased as he forgot the requirements to convict, see

Tumey v. Ohio

oe

1 The case that I speak about it a three panel arbitrator team
Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 14 of 39

15.1 should prevail on appeal for my conviction of my criminal case, but this should
be if Randi Weingarten or Sen. Schumer does not interfere with the decision
making of the appeal—like all the other judges that I had

16. NYC DOE ‘has not based their decisions of employment as required by NY
Correction Law Art 23-a because I did not receive my retro money

17. According to Renee Campion (Commissi oner of Labor Relations for NYC) and
Alan Klinger, Esq of Strook, Strook, and Lavin, the CBA did not change NYC’s
Personnel Rules and Regulations: Rule 6.2.4 and that they apply to the CBA
between the UFT and NYC wyc’ s administrative statute)

18. Judge Donnelly (Schumer) said, “be happy that you still have a job” and Judge
Engelmayer (Schumer) said, “you will not get justice here,” but Randi paid Judge »
Marrero (Schumer judge) and Betsy Combier has the audio recording

19. Sen. Schumer said that Randi Weingarten is like a sister to him

20. Labor Relations for NYC and Strook, Strook, and Lavin are the agents who
negotiate the contract, so they are the ones who. TRULY understand the
construction of the CBA : .

21. Peter Zucker read Judge Cogan’s opinion (Doc. No. 37) 3 3 hours prior to it being
posted on pacer.gov and then months later, he told me that he met with Betsy
Combier, Randi Weingarten, J udge Cogan, and Randi Weingarten

a. Tcannot prove that he met with said people
b. Ican only prove what he said to me

How did Peter know what Judge Cogan 1 was going to write BEF ORE it
was posted for the public to see?

d. I never received ; any exculpatory evidence from the DOJ on this.j issue,
which I told my lawyers to ask

who worked at Strook with Randi Weingarten

23. It is court’s policy (state and federal) to enfor
Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 15 of 39

25.Iw ied t , 0
as denied retro payment because I was detained for 5 months; therefore. | did

not have a break in service like the DOE and UFT told me

26.
Shakira Price was detained after supposedly killing someone with a car (in the

27,

newspaper), but she received her retro money (she told me)

The DOE knew of my arrest prior to the US Marshalls filing a criminal complaint

and sent a letter cutting off my health benefits

The DOE and the UFT called me on July 20, 2021 about my plea, which was a

product of intimidation by Judge Engelmayer

. The DOE is mad that I have documented the fact they screwed up with an AP

smoking weed and not interviewing me, as the DOE brought up the ap on AP on
sexual misconduct charges .
a. DOE muted my microphone, and it is on their website

b. The DOE sent NYPD to threaten me to stay away from public meetings

. The DOE and the UFT are mad at the fact that I have everything audio recorded

and now, | have AUSAs to back me for what they have done to me

_Tcalled AUSAs, like Gold and Shaw, because the EDNY said nothing was wrong

and nothing happened to me (paraphrased of AUSA Bensing’s statement from
February 5, 2019)

_ Please see 17-cv-00234, 18-cv-03230, 21-me-01760, 19-cr-00127, 15-cv-03679,

17-cv-02239, documents under seal, and look at your own emails (the same ones

sent to Sen. Schumer.

. Betsy Combier told me, prior to filing my lawsuit, that “if you continue to attack

the UFT, Randi will be vindictive towards you, like what she did to the teachers

in Teachers4action because she will find a way,” which will we all know was a

Judge Marrero case

34. Cathy Battle told me on the phone that if L continued with the lawsuit that the

UFT would expose my Tape, which was the emails that I sent to the UFT. And

then the pos the courage and pure GALL to allude to it at PERB and mentioned

to DOJ in an email that Mr. Hueston said shit.
Case 1:21-cv-03359-CRC. Document 2 Filed 01/05/22 Page 16 of 39

Below the line is a motion that Judge Engelmayer did not answer and is under seal because
Randi Weingarten paid him because my employer will discipline me for what occurred in court
and Judge Engelmayer committed a crime when he used his office for Sen. Schumer and Randi

Weingarten because they were part of my intent.

Dear Judge Engelmayer, Ms. Karamgios; Mr. Silverman, and Ms.
Silverman..

Re: Since Your Honor deprived me of my own defense and my own
intent. I request the following remedy; as what happened at bail
hearings and plea proceeding, they will affect me at Ed. Law
3020-a hearing and the decision the DOE must make under NY
Correction Law Art 23a,

As I attempted to raise numerous times to my lawyers and
judges, the fact that the bail/detention hearing effected
substantial rights, which is liberty. See US v. Salerno, 481 us
739. In Salerno, the-Court explained that Bail Reform Act was
meant to protect the substantive right of liberty because the
said act provided procedural safeguards so that government would
not abuse the use of denial of bail and wrongly placed the

accused under detention,

If Your Honor denies me this request; then I want to

contact the Judicial Conference and 2d..Cir. under 28 USC § 2106
Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 17 of 39

kind enough to provide advice to me on many issues that has been
ignored by own lawyers. |

Please Take Further Notice, the Court was clear, in
Salerno, how the procedural safeguards in the Bail Reform Act of
1984 were meant to protect substantive right of liberty, which
are protected by the Pifth Amendment and Fourteen Amendment of

the Due Process Clause

Please Take Even Further Notice, I was prevented from

litigating my substantive right of liberty by my own lawyers.

t. Facts never presented at any bail hearing:
| 1, The US Marshalls did not believe that I was 4 danger
to anyone
2. The US Marshalls wrote that I was a nuisance in their
report | . .
3. The US Marshalls told me that they waited to pick me
up because I was not a danger to anyone, on 11/14/18
4, The judge took their sweet time to report the emails
and never said that they were in fear of the times
either
5, The AUSAs took over a year and half. to produce the
email from a judge. (if there are others, I have not
looked at discovery) a
a. Request was made on 12/21/19

b. The requested email, under protective order, was ~

handed over on April 12, 2021
Case 1:21-cv-03359-CRC Document 2. Filed 01/05/22 Page 18 of 39

6. TI informed each of my lawyers and the information was
sent in-an email sent to AUSA Bensing with other DOT
personnel that in US v. McCrudden , exr-11-061, Judge —
Hurely ‘explains: that: how the US Marshalls responded to
a supposed threat against a judge and the time it took
the US Marshalls to contact the suspect | are items to
consider not detaining someone

7. Then, Judge Hurely explains that the amount of time
the judges took to inform the US Marshalls is also
another fact to consider whether to detain someone or
not. | | |

8. Your Honor asked the. government. to produce a statement
about the bail hearing and: AUSA Karamigios ‘never did
as Your Honor ordered.

9. Mr. Silverman said the time has passed to get a letter
from AUSA Karamigios, but it only has passed, if Mr.
Silverman does not provide Your. Honor with a chance to
answer or order AUSA Karamigios to ‘file the letter.

19. The time has not passed because what happened will
affect. my job. I will explain how it will explain
below.

dis Mr. Silverman knew, like my other lawyers, the US”
Marshalls wrote. a report saying that I wes not a

danger to anyone but a nuisance, like the US Marshalls
told me on. 11/14/18.

If. Ex Parte Conference

As I explained to Your Honor on April 16
eX parte letters, ,

against my lawyers,
Olivera,
Case 1:21-cv-03359-CRC Document 2° Filed 01/05/22 .Page 19 of 39

Ho Ltd i | i

nor prevents me from litigating my claims of ineffective
assistance of. counsel, so that I cannot claim Cronic or

e eur .

structural error or sue my lawyers. Please Note, the lst and 2nd

Departments told.me to sue my lawyers because they know that

they were harming me at the bail hearings and it will affect my

job.

III. The way the DOE will use the information from the Bail
Hearing |

The DOR will use the bail hearing, where Magistrate
Scanlon denied me bail because I was danger to the community, as_
means to use it in at the 3020-a arbitration hearing. The
arbitrator could read what the US Marshalls wrote, but the

arbitrator will never hear the fact my lawyers, including Mr.

Silverman, willfully excluded any evidence that I was not a

danger to the community and the US Marshalls believed that I was

not a danger to anyone.
will show, Judge Donnelly and Your

Honor praised my lawyers. It is obvious that judges’ opinion is
weighed more than someone from the DOJ, AUSA Gold or AUSA Shaw.

As the transcripts

I. Correction Law Article 23-a

The following is the way the constitutional violations of

the Bail/Detention hearing will affect my job, which I property

Tf Your Honor does not know,
ake decisions about
r..to carefully read

T was prevented

interest as teacher. correction

t, 23-a is the mode employers ™

Law Ar
T.need Your Hono

employees with convictions.
eals with the fact chat

3(h) below because it a
I was not 4 danger &

o the
gating the fact that

from Liti

community -
Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 20 of 39

Your Honor remained silent or ignored the fact that I have
AUSA Shaw telling me to file a criminal complaint against my
previous lawyers at the ex parte conference, which I dia with
AUSA Bensing. Please sée ex parte motions and transcript. Your
Honor did not éxpress anything, so I do not know how to classify

lack of action.

a. The Following are the items that the DOE needed to
consider for retro money and for whether to file

charges under Ed Law 3020-a

1. Article 23-a requires employers to evaluate qualified job
seekers and current employees with conviction histories
fairly and on a case-by-case basis. The law specifies eight
factors that employers must consider when evaluating an
applicant with a prior conviction.

2. NY Correction Law requires the following actions to occur:

a. Section 750. Definitions

b. 751 Applicability

¢. 752 Unfair discrimination against persons previously
convicted of one | |

d. Or more criminal offenses prohibited,

e. 753 Factors to be considered concerning a previous
criminal

£. Conviction; presumption,

G- 754. Written statement. |

h. 755 Enforcement. |

a. New York State’s Publi

C policy of on,
employment oF Persons encouraging the

with Prior Convictions
4.

Case 1:21-cv-03359-CRC . Document 2° Filed 01/05/22 Page.21 of 39

b. The specific duties and responsibilities necessarily
related to the license or employment sought.

c. The bearing, if any, the criminal offense or offenses
for which the person was previously convicted will have
on his ability to perform one or more such duties or
responsibilities. | |

d. The time which has elapsed since the occurrence of the
criminal offense or offenses.

e. The age of the person at the time of the occurrence of
the criminal offense or offenses. |

f. The seriousness of the offense or offenses.

g. Any information produced by the person, or produced on
his behalf, in regard to his rehabilitation and good
conduct. .

h. The legitimate interest of the public agency or private
employer in protecting property, and the safety and

welfare of specific individuals or the general public.

Obviously, I can meet “g” (which is mentioned above): Any
information produced by the person, or produced on his

behalf, in regard to his rehabilitation and good conduct.
I am not worried about presenting evidence of 4g"

But “g” does not replace the order that I was detained
because of being dangerous to the community, as my lawyers
intentionally failed to present evidence of what the US
Marshalls wrote (I was a nuisance and not dangerous) or

obtain from the DOJ that the judge took over two weeks to

report the threat.
Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 22 of 39

6.

It is “h” the DOR will cite: “The legitimate interest of
the public agency or private employer in protecting
property, and the safety and welfare of specific
individuals or the general public” because I never got the
chance to litigate the facts, I was not a danger to anyone
(according to the US Marshalls) and given exculpatory
evidence by the DOJ to show that the judge took their sweet

time reporting my emails.

As Your Honor knows that it will be beyond difficult to

over
the

come an order from the court saying that I ama danger to

community. I work with children and there are various

statutes and various constitutional theories where the state

must protect the public.

This is all understandable, but I would have been in a better

position, if I would have been allowed to present evidence that

I was not a danger to the community

7

-A court saying that someone is a danger to the community is
a powerful statement for the DOE to use against me, but I
was denied the opportunity to present a defense where I
would have litigated the fact that I was not a danger
within the meaning of the Bail Reform Act of 1984 because

the US Marshalls’ report would have ruled out dangerous

with. the amount of time the judges took to forward the
response, | |

ld not audio-recorg them, as I
Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 23 of 39

that the as
: . y feared my emails, but I need the protective d
lifted to use at the 3020-a | a

10. In US v. MoeCrudden, cr-11-061,

Judge Hurely explains
that how the US Marshalls responded to a supposed threat
against a judge and the time it took the US Marshalls to
contact the suspect are items to consider not detaining
someone

11. In fact, Judge Hurely continues to explain that the
time the judges took to forward the threat to the US
Marshalls also shows the defendant was not a threat or a
danger to the community.

12. Now, I have the US Harghalle’ feport: to use, but the
email from the judge (I will not say from whom because I do
not if I could say the name, nor have I had an opportunity

to view all evidence under the order) is under protective .

order.

13. IT have emails and audio-recorded phone calls (from all
the lawyers that I have had. and including the current ones)
where I explain what. Judge Hurely said in the McCrudden
case and I even sent the Judge Hurely’s decision to each
lawyer that T had and aven to the current ones.

14. Betsy Combier said that Randi would have me fired if I
mentioned the UFT in the lawsuit and that: Randi Weingarten
would be vindictive, like having Betsy placing my HIV
status on her blog.

15. Then, there is the fact that the UFT threatened to
expose my rape if I continued with my lawsuit

16. Judge Donnelly said, “just be happy that you have a

job for now,” which is in the transcript..

tl t need Your Honor to address the above Lssues
Case 1:21-cv-03359-CRC. Document 2. Filed 01/05/22 Page 24 of 39

I realize that Your Honor has discretion, but I was
precluded from litigating a meritorious claim of constitutional
violations at the bail/detention hearing, as Your. Honor said:
“you will not get justice here” because there is evidence that
my lawyer knew of and the AUSA withheld from the hearings.

The issue should have been litigated was the fact that I
was not a danger to the community. My lawyer's conduct was, in
any meaningful way, to prevented from presenting evidence at any
bail hearing. In fact, I was precluded by my lawyers to obtain a
new bail hearing, which is statutory right and; let‘’s be honest,
it is constitutional violation to deny me access to the court to
litigate issues—which was what Mr. Silverman did.”

My lawyers new of evidence that I was not a danger to
anyone and failed to obtain the exculpatory evidence from the
AUSA but waited until the AUSA sent the needed evidence two and
half years later. So, my lawyers knew of emails sent from judges —
to the US Marshalls and the fact that us Marshalls. wrote that I
was a nuisance and “not a danger to anyone, which they wrote in
their report to the court.-

My lawyers knew and understood that what the US Marshall
wrote in their report, the time the judges took to forward the
email to the US Marshalls and Judge Hurely’s decision in

McCrudden echoes the previous two facts; these things were all

Judge Rurely.

Our Honor allowed Mr. Taylor, esq. to lie about the
. ! e .

baids. -
ail/detention hearing without me explaining
Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 25 of 39

Your Honor ignored the fact that AUSA Shaw told. me to file
a criminal complaint against my lawyers, which I did with AUSA

Bensing, as I wrote in letters

T, in fact, found out that Your Honor is. the person to
present a habeas corpus petition too. Your Honor told me that I

will not get justice in your courtroom.

III. Has Mr. Silverman informed the DOJ how the DOE/UFT

vetaliated against me by depriving me retro money

It has been months since I told Mr. Silverman about the
crime of retro money, which was also told AUSA Bensing. lf Mr.
Silverman cannot inform the AUSA now or the AUSA ignores my
criminal complaint to protect the UFT/Randi Weingarten/Judge
Cogan {I know the AUSA has discretion but the AUSA already
covered up the crime between Judge Cogan and the UFT, and my.
current compliant is part and parcel to the aforementioned
action) because, besides AUSA Shaw and AUSA Gold, I have
numerous DOJ personnel outside of the 2d Cir. who told me what.

is being done to me is a crime and AUSA Bensing lied about Judge

Cogan on February 4, 2019

Ms. Shakira Price was given her retro money after being
detained in jail, which is the read given to me as why 1 would .
be paid retro money ;

+ heard the audio-recording of Randi Weingarten paying

| | 5
Judge Marrero put IT aid not hear the audio-recording of Rands

a _ ee r
empting to pride Ed. Fagan, which Betsy combie

Weingarten att
has, and thas Fee

ording is not in discovery:
Case 1:21-cv-03359-CRC Document 2. Filed 01/05/22 Page 26 of 39

I request Mr. Silverman’s financials because he has gone
of his away to harm and deprive of everything constitutional

right. In addition, I request all financials from each Lawyer
that IT had.

I do not have any doubts that Mr. Taylor, esq. did not
tell the DOJ what the DOE/UFT did to me is crime. I have so many

DOJ personnel, from outside of the 2d. Cir., telling me it is a
crime.

Iam baffled by Your Honor’s comment that my lawyers have

worked hard for me because no one else sees that whatsoever.

Example:

The Facts that

Statements said to Your Your Honor’s
have not changed

Honor Reponses
(1)I told your Honor Nothing The Bail Reform
that under the Bail Act is clear,
Reform Act allows and evidence was
defendants to present — not presented to
evidence that was not the court,
present prior to the

court and could be

Presénted to the court

Up until trial,

(2)I tolg Your Honor Nothing

tha :
t my lawyers knew of Besides what t

a repo m mentioned ve
Port from the US + ‘a above
: 2

AUSA Shaw told

Mar .
Shalis Saying that tr
me to file a!
Case 1:21-cv-03359-CRC. Document 2 . Filed 01/05/22 Page 27 of 39

was not a danger, but a

nuisance

(3) Then, Your Honor
allowed Mr. Taylor to
lie about the

bail/detention hearing

(4)I asked Your Honor
Mr. Silverman to

address the fact of the
Bail Reform Act

(5) Mr. Silverman said
Mr. Celli’s issue with
bail is better suited
for a habeas corpus

petition.

(6) Now, rule 52(b) is
the final way to
litigate the issue that
I was not a danger to
the community or
anyone, but a nuisance,

‘like the US Marshalls

wrote, the reason they

waited to come to get
me, and why the judges

took two weeks to

Your Honor became
enraged and said,
“How you disparage |
Mr. Taylor...” .

Silence

Your Honor answered,
“86, Mr. Celli wants
you to file motions

that you cannot.”

???.1 prayer that
Your Honor will
provided me with
relief from the
constitutional
violations, as Your

Honor promised the

Senate Judiciary

Committee and it is
same. issue that the
Supreme Court

requires of lower

eriminal
complaint, which
I did with AUSA

Bensing

Same as the two

above ~

The same as the

first two

The same as the

first two

Just like the
Bail Reform Act,
rule 52(b)
allows
defendants to
litigate issues
that: affected

their rights.

what happened at
the hearings is

still a crime
Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 28 of 39

forward the first

email.

courts, but I. have
to for Your Honor’s

discretion.

Conclusion

and my lawyers
were given to me
to protect my |
rights,
according to
various DOJ
personnel

outside the 2,

Cir.
a ee r

Ww

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Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 29 of 39

tT would like to know how the pod and/or the court is going
to help me with this because it is within your (judge's oF

AUSA’s) discretion to help me or not.

I checked with many DOJ personnel about whether a motion
could have been place prior to trial or not, like the Bail
Reform Acts states, and everyone said, “yes, if there was
evidence not presented at any bail hearing”—wow, it is the same
as it is written in the statute, but Mr. Silverman told Your
Honor otherwise. . .

Your Honor, however, believes that I. want my lawyers to
file things that they cannot, please explain because there
cannot be two realities and the DOJ told me that the Bail Reform
Act has not changed. What the DOJ told me about the Bail Reform
ct is the same as what I told Your Honor. in person and in

writing. What am I missing? I would like to understand

 

your Honor said that I could not seek justice for what
happened at the bail/detention hearing at trial and my lawyers
did not want to obtain a new bail hearing because they lied to
Your Honor and Judge Donnelly, but I have AUSA Shaw saying it is

a crime..

1. Remedy for not being allowed to litigate not being a danger to

 

 

 

 

 

 

 

the community: I need Your Honor to order, che following

individuals to be present at my 3020-a hearing:

Magistrate Scanlon (clerked for Judge Katzman); Chief Judge
Brodie (Schumer judge), Judge Katzman (Schumer judge),
Judge Hurely, Judge Donnelly (Schumer judge), Magistrate
Bulsura, Judge Engelmayer (Schumer judge), Sen- Schumer—he
believes Randi [Weingarten] is like a sister to him and he

NJUCTION AND DECLARATORY JUDGMENTS : - 29

 

 

 

 

 
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Case 1:21-cv-03359-CRC Document 2. Filed 01/05/22 Page 30 of 39

would do anything for her (in a video to AFT members) and I
have an email response from the Senator that is under seal,
Judge Cogan, AUSA Brady, AUSA Bensing, AUSA Gold, AUSA
Shaw, AUSA Bensing, AUSA Karamigios, any AUSA that I spoke
to over the course of two years or I have emails from, US
Marshalls, Ms. Olvera, esq-, Mr. Weil, esq., Ms. Gerlant,
esq., Mr. Hueston, esq., Mr. Taylor, esq., Mr. Silverman, —
esq. Ms. Silverman, esq., Randi Weingarten, esq. or “evil -
mob boss”, and Betsy Combier, all present for my 3020-a
hearing because I need to present evidence as to why I was
denied all procedural safeguards in: federal court, as it is
the only way to show that I was not a danger to the
community, like present evidence of US Marshall reports

that I was not a danger, but a nuisance. T

a. What I was. prevented from litigating in federal court
by each lawyer that I-had, I will heed to litigate |
the issues at the 3020-4 because it will be all.
related to the. 3020-~a proceeding. The bottom line is,
the Bail Reform Act of 1984 is clear on procedural
safeguards and. then, the Supreme Court’ highlighted

' the procedural Safeguards, in us Ve Salerno, 481-US
739, because the procedural safeguards were méant to
protect substantive rights of the accused, such as

liberty and impede the government from misusing

defense of choice. .
b. Having everyone that I mentioned in A is the only way

to present a defense at 3020-a that was denied -to me

in federal court by my own lawyers

NJUCTION AND DECLARATORY JUDGMENTS te 30

 

 

 
 

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Case. 1: 21-cv-03359- CRC Document 2. Filed 01/05/22 Page 31 of: 39 ©

. I have audio-recordings of my lawyers, but they

cannot be forced to attend

. I have audio-recordings of DOT personnel, but I can.

try to subpoena under a certain doctrine—but this is

not a guarantee, Your Honor grants. my request

_ I have audio-recordings of various law. enforcement

agencies, but they cannot be forced to attend (I have

to find out about NYPD, gince they work for NYC)

.I have the transcripts, but the DoE cannot cross~-

examine anyone

_ I believe I can have Randi Weingarten because NYC is

her original place of employment and, for sure, the
UFT Pres on down collects a UFT salary and a DoE
salary, so this makes them NYC employees too-Randi
said that the UFT is her home union, but we shall

see.

. My lawyers had up until trial to present any evidence|

not given to the court, which I cited in my motions
and at the ex parte conference with Your Honor

because it is a statutory right.

. DOE can only force employees to testify at. 3020-a

hearing and others have a choice, as this is my
understanding. Soe ,

Your Honor did say, "you will not get justice here”
and now without the opportunity to litigate the fact
that I was not a danger to the community with proof,
from the US Marshalls wrote, that I was a nuisance;

then, I will not have hope.

. My lawyers prevented me from obtaining exculpatory

evidence of my subjective intent and your Honor
concurred with them, which is act of taking My will

from me.

NJUCTION AND DECLARATORY JUDGMENTS: -31

 

 
NO

 

 

 

 

 

 

| it 2 of 39
Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 3:

1. My lawyers prevented me. from presenting any

meaningful defense to anything and Your Honor

concurred with part of it and then, the judges aided

my other lawyers, which took my will from me.

m. My lawyers prevented me ftom litigate the fact the US

Marshalls deprived me of a fair trial with their

‘reports

n. My lawyers prevented me from litigating that my

confession was not voluntary and promised to put a

Suppression tiotion

oO. My lawyers prevented me from litigating AUSAs’

misconduct and I have AUSA Gold Saying AUSA Bensing

did commit misconduct about lying about Judge Cogan

and the UFT,

Le Somehow, according to Mr. Silverman, it would be

Silverman did not to place the motion on the

 

 

docket because they recognized the misconduct of

the AUSAs too. In fact, I dig not even Say what

AUSA Gold told me.iall ‘t did was State the facts

impeded me from litigating

q- My lawyer prevented me. from litigating the issue of

recusal of the AUSAs

linked to ausa Bensing’s misconduct in court, the ug

Marshalls? threat, and other issues under Seal

NJUCTION AND DECLARATORY JUDGMENTS :~ 32
NO

ua

 

 

 

 

 

 

Case 1:21-cv-03359-CRC Document 2. Filed 01/05/22 Page 33 of 39

s. There are other issues that I was prevented from

litigating

2. Remedy: Judge Engelmayer, may I use the transcript (from the
April 16th ex parte conference) with my motions/letter under
‘geal at my 3020-a. I have the transcript. and I have what Mr.
Silverman placed under seal, but I do not know if I need Your
Honor’s permission to use them because I rather use the
official ones. Please take Notice, I have Mr. Silverman

telling me that I can use them

Your Honor allowed or you did not realize it, but Mr.
Silverman lie about Bail Reform Act of 1984 when he said
“it better that Mr. Celli file a habeas corpus,” which Your
Honor eagerly responded by saying, “so Mr. Celli wants you

to files things that you cannot.”

Bottom line is the Bail Reform Act of 1984 provides the

defendant to present evidence that was not presented to

court and this right is valid up until trial, which I
‘mentioned at the ex parte conference, and Your Honor did

not say anything.
Please check the transcript

3. Remedy: Your Honor asked the AUSA Karamigios to file a letter
with the court about the bail/detention hearing, I ask that

AUSA Karamigios do as Your Honor ordered.

4. Remedy: I request that there be a stipulation of that I was
not danger to anyone but a nuisance. like the US Marshalls
wrote because I precluded from litigate the issue and my

NJUCTION AND DECLARATORY JUDGMENTS : - 33

 

 

 
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};acknowledgment of constitutional violations, as you already tola |

 

 

 

Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 34 of 39

lawyers knew of evidence that I was nuisance and not a danger

to the community, according. to the US Marshall

5. Remedy: I request. that the DoE be precluded from using

. anything from this case because. my lawyers. prevented me from
exercising my statutory rights to present evidence that I. was
not a danger to the community and prevented me from litigating

other issues too,

I am praying for a remedy that Your Honor can, within. your]
discretion, provide me because Your . Honor promised to. protect
individual constitutional rights at your senate confirmation
hearing. From watching Your Honor speak about your time clerking

for Justice Marshalls, i believe you are a person of your word.

I understand, moreover, that. Your Honor could grant me
only one remedy listed, all remedies listed, or none, as it is

within Your Honor’ s discretion and I say this with Your Honor’ Ss.
once, “you will not receive justice here.”

Lastly, AUSA ‘Shaw told me that it was a crime “not to
present evidence, known to the lawyers, to. the court because
they are impeding the court. from reaching a correct and just
decision, as the. stated facts are needed to reach such
decisions. What AUSA Shaw said is seen in the Bail Reform Ret,
in the Salerno decision, and other decisions. by the Supreme
Court, but my lawyers. tell me that “they can’ t do it” or “it

will harm you. "—there isa disconnect.

NJUCTION AND DECLARATORY JUDGMENTS :.- 34

 
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‘Case 1: 21H -CV- 03359- CRC Document 2 Filed 01/05/22 Page 35 of 39

It does not appear AUSA Shaw is lying to me because what she
said to me, I can read in the statute and in Supreme Court

decisions. I wonder who is lying..hmmm

I request a temporary injunction of any disciplinary decision on
criminal conviction because the record is not fully developed in
court and my employer does not have all the records under seal
to make a proper decision, as required by NYS law and I wrote
this to Judge Engelmayer and I knew he would ignore it, like
Randi paid Judge Marrero, which is the reason that I sent. the

SAME documents to congress

Or wait until the appeal is done and if there is a new trial

I request that you and order anyone that has information or who
works for the UFT/AFT/DOJ and others to appear at my 3020-a

hearing

I request that the court order the DOE and the UFT to explain
why I was deprived of my retro money and that it had nothing to
do with retaliation. DOE is required to provide one under NYS
Law Art. 23-a and correction law 750 (somehow they are related.

or the same but I do not have my computer to know for sure)

 

 

 

 

Another remedies:

1. Retro money
2. The name of the person at the DOE who denied me Retro money

Iv Irreparable Injury and Remedies

1. I incorporate the remedies written in the original motion

NJUCTION AND DECLARATORY JUDGMENTS :- 35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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Case 1:21-cv-03359-CRC - Document 2 Filed 01/05/22 Page 360

2. Any remedy that I have not listed by name, like no

3.

develop my structural error claims, please attachments

- I need the Dog to State its position on ineffective

arbitrator in Nys will protect my rights and I need a
federal judge, who is not influenced by Sen. Schumer for
Randi, to be appointed .

Although Daniel Perez appears to be good (but all my
lawyers began the same way), he is already saying what I
must see. |

a. The Engelmayer motion, I want the 2d, Cir. to address

appeal
d. I need hearing to show how and why I received
ineffective of counsel

I need a different judge to hola hearings, so that I can:

 

 

 

 

 

council) :
I need Mr. Ragdale’s office to issue its findings on AUSAS’

misconduct??, which is another reason for extra time

12y rather have Mr. Rasgdale’s office findings, than those of the IG’s office and Exc, Office conclusions._ .
NUCTION AND DECLARATORY JUDGMENTS  - 36 :
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~ Case 1: 21-¢ -CV- -03359- CRC Document 2 Filed 01/05/22 Page 37 of 39

nothing excuses collusion or the appearance that Randi
Weingarten paid him. .

9. For the Judicial Conference to force a judge to hold a true
hearing where 1 can present my audio recordings: and
facts/truth can come to the public’s eye

10. For Judicial conference and AG Garland to allow their
employees to appear at my 3020-a because a face with my .
audio recording is better or a> court order

ll. Betsy Combier to produce the audio recording of her,

 

 

Randi, and Judge Marrero with his clerk.

12. Basically, Randi Weingarten wants to hide what I have
audio recorded

13. Randi wants to hide the fact that Judge Cogan helped ©
the UFT,}3 which. both Randi and Cogan worked for Strook, and
Randi received her union job while she worked at Strook

14. Randi wants to hide how she with Judge Cogan had Betsy
Combier harass me, like place my HIV status on her
nonprofit blog that Judge Brodie ignored

15. To stop sen. “Schumer and his judges from depriving me
of all my constitutional rights

16. To have the trial of my dreams and expose what EDNY |
(judges and AUSAS) with my own lawyers’ help deprive me of
a fair trial

‘17. To have my trial live stream because Randi Weingarten
-and Betsy Combier, with Sen. Schumer’s help via his judges
and AUSAs, wanted me to ashamed of being raped and getting
HIV

18. To have everyone testify. (via zoom is fine)

 

13 Always remember that the UFT was a former client of Judge Cogan
NJUCTION AND DECLARATORY JUDGMENT Si- 37

 

 

 

 

 

 
 

 

Case 1:21-cv-03359-CRC Document 2 Filed 01/05/22 Page 38 of 39

19. To prove Sen. Schumer via his judges, with influence
from Judge Cogan, helped to déprive me liberty because
Randi is like a sister to him

20. To prove Judge Cogan. used his office for the UFT and
cover up their crimes against me

21. To make sure Sen. Schumer never helps Randi Weingarten
again |

22. To make sure the judges of 2d. Cir., SDNY, and EDNY
never help Randi Weingarten or the UFT

23. To get the name of the person who deprived me of retro
money at the. DOE because NYC Personnel Rule 6.2.4 establish
that anything above a year is a break in service’

24, The public has the right to know that Randi Weingarten
and Sen. Schumer have been fixing cases, in court, since
2008 -

25. AUSA Karamigious. and whoever showed up with her, they
knew Judge Engelmayer intimidated me into a plea

a. What is the EDNY going to do about it on appeal?

26. Regain equal protection of the laws that Sen.
Schumer’s judges have deprive me of and AUSAs in the EDNY
27. Regain my constitutional rights deprived to me by Sen.

Schumer’s judges and from AUSAs in the EDNY Be .
28. Judge Engelmayer and Judge Donnelly both knew and
understood that I was DEPRIVED of all safeguards listed in
Bail Reform Act

29, - In fact, Judge Engelmayer allowed both Mr. Silverman
and Mr. Taylor to lie about the bail hearing

30. To show that the Judges, especially Schumer judges,
forgot the rule of. law and facts because Randi paid them,
like Judge Marrero

31. Whatever else is Listed above but I forgot to include

in this ‘section.

NJUCTION AND DECLARATORY JUDGMENTS : = 38

 
 

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Case 1:21-cv-03359-CRC Document 2. Filed 01/05/22 Page 39 of 39

Dated this 4° of December; 2021.

  

Coe

ew | Lucio Celli, Defendant

 

NJUCTION AND DECLARATORY JUDGMENTS : - 39

 
